Case 2:05-cr-20157-.]PI\/| Document 15 Filed 07/13/05 Page 1 of 2 Page|D 17

IN THE UNITED sTATES DISTRICT coURT F""Y 53 D-C-
FoR THE wEsTERN DISTRICT or TENNES sEE
WESTERN DIvIsioN 05 JUL ' 3 FH 5= 05

 

UNITED STATES OF AMERICA

 

V.

DANIEL I. CHENEY 05cr20157-Ml

 

ORDER ON ARRAIGNMENT

 

/
This cause came to be heard on O/{,(,£M /.3, 355 5 the United States Attorney

for this district appeared on behalf of the gg('ermdent, and the defendant appeared in person and with
counsel:

NAME //U‘“LM mo d/Vl£l»(/"J’“" who is Retained./Appointed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

g lhe defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal. " a
f>©./t wm /K %/W

UNITED STATES MAGISTRATE ]UDGE

 

 

CHARGES - 21:841(a)(1)
CONTROLLED sUBsTANCE - sELL, DISTRIBUTE, OR DISPENSE

Attorney assigned to Case: D. I-Ienry

Age: VS/

Th|s document entered on the docket sheetl compllanch
with sure 55 and/or 32(:3) mch on '/ 'CLF

   

UNITED S`TATE DRISTIC COURT - WTERN D'S'TRCT OFTENNESSEE

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Honorable J on McCalla
US DISTRICT COURT

